              Case 4:17-cr-00076-MSD-LRL Document 5 Filed 08/30/17 Page 1 of 1 PageID# 11
AO 4-J2 (Rev. (H/09) Arrest Warram
                                                                                                         ORIGINAL
                                          United States District Court
                                                                   for the                                           r&z
                                                        Eastern District of Virginin

                      United States of America
                                  V.

                                                                             Case No.   4;17cr76
           ELMER EMMANUEL EYCHANER,
                             Defendant


                                                       ARREST WARRANT

To:        Any authorized law enforcement officer                                                              •,:


           YOU ARE COMMANDED lo arrest and bring before aUnited States magistrate judge without^unnecessary delay
(name ofperson to be arrested)         ELMER EMMANUEL EYCHANER. Ill
who is accuscd of an offense or violation based on the following document filed with the court:

sf Indictment              • Superseding Indictment         • Information       • Superseding Information            • Complaint
•     Probation Violation Petition           O Supervised Release Violation Petition      • Violation Notice         O Order of the Court

This offense is briefly described as follows:

    Count 1:18 U.S-C,§ 2252(a)(4)(B) - Access with Intent to View Visual Depictions of Minors Engaged in Sexually Explicit
    Conduct et al.




Date:     08/16/2017                                                                                                            ,'JRT
                                                                                                   ^jicer's siptdt^
City and State:         Newport News, Virginia                               Douglas E. Miller, United States Magistrate Judge
                                                                                            Primed name and lilla



                                                                  Return

          This warrant was rec   recced on uluiej                     _, and the person was arrested on (d^
at icily and SlateI



Da«:
                                                                                         Arr^gfmgl^icar's signature


                                                                             CAri\ Uc(e(^   Printed name ant^iiile
